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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


TOBY L. ROSEN, Bankruptcy Trustee on             )          CASE NO. 4:15-cv-871
behalf of Raymond Boyd, et al.,                  )
                                                 )
                                                 )
                       PLAINTIFFS,               )          JUDGE SARA LIOI
                                                 )
vs.                                              )
                                                 )          MEMORANDUM OPINION AND
                                                 )          FINAL ORDER AND JUDGMENT
SCHWEBEL BAKING COMPANY,                         )
                                                 )
                                                 )
                      DEFENDANT.                 )

       On September 7, 2017, the parties participated in a court-supervised mediation session, at

the conclusion of which, the parties advised the Court that they had reached a settlement. (Non-

Doc. Order, dated 9-7-17.) Now before the Court is the parties’ Joint Sealed Motion for

Approval of Settlement and Stipulation of Dismissal with Prejudice, which seeks the Court’s

approval of a settlement agreement between plaintiffs and defendant resolving plaintiffs’ claim

under the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §§ 201, et seq. (Doc. No. 100 [“Joint

Mot.”].) Appended to the motion are the parties’ Confidential Collective Action Settlement

Agreement (Exhibit 1), Notice and Agreement of Confidential Settlement (Exhibit 2), a proposed

final order (Exhibit 3), and a declaration from plaintiffs’ counsel (Exhibit 4). The Court must

now determine whether the settlement represents a fair resolution of plaintiffs’ FLSA claims. For

the reasons that follow, the Court finds that it does, and the settlement is approved.
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   I. BACKGROUND

       In this action, filed on May 3, 2015, plaintiffs, Ray Boyd1 and Terry Vukich, brought suit

against defendant, Schwebel Baking Company, on behalf themselves and others similarly

situated, for the payment for wages earned but allegedly uncompensated by defendant. (Doc. No.

1 (Complaint [“Compl.”]).) Defendant denied that plaintiffs were entitled to any additional

wages, and further denied that they violated the FLSA. (Doc. No. 8 (Answer).)

       On July 24, 2015, plaintiffs filed a Motion for Conditional Certification and Court-

Authorized Notice. (Doc. No. 13.) After a period of pre-certification discovery, plaintiffs filed an

Amended Motion for Conditional Certification and Court-Authorized Notice. (Doc. No. 38

[“Am. Mot. Cond. Cert.”].) By their amended motion, plaintiffs sought to certify the following

collective under the FLSA:

       All workers who were employed by Defendant Schwebel as a Route Sales
       delivery driver (or similar position), spent all or part of their workday driving a
       vehicle that weighed 10,000 pounds or less, and did not receive overtime for
       hours worked over forty (40) per workweek during the last three years.

(See Compl. ¶ 5.) Thereafter, defendant filed a motion for judgment on the pleadings on the basis

of judicial estoppel. (Doc. No. 47.)

       On June 30, 2016, the Court granted plaintiffs’ amended motion for conditional

certification and denied defendant’s motion for judgment on the pleadings. (Doc. No. 62

(Memorandum Opinion and Order).) Since the Court’s grant of conditional certification, 61 opt-

in plaintiffs have joined this case. One of those opt-in’s claims was subsequently voluntarily

dismissed. On October 16, 2017, after a successful mediation, the parties filed the present joint

motion to approve the settlement.


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           The settlement agreement covers the representative plaintiffs and the 60 existing opt-in

party plaintiffs (hereinafter “plaintiffs”) identified in the settlement agreement. To receive an

individual payment, the plaintiffs must sign and return the notice and agreement of conditional

settlement. The settlement agreement provides that, in consideration of the settlement payment,

the plaintiffs’ claims are to be dismissed with prejudice.

       II. APPLICABLE LAW

           “Employees are guaranteed certain rights by the FLSA, and public policy requires that

these rights not be compromised by settlement.” Crawford v. Lexington-Fayette Urban Cnty.

Gov., Civil Action No. 06-299-JBC, 2008 WL 4724499, at *2 (E.D. Ky. Oct. 23, 2008). “The

central purpose of the FLSA is to protect covered employees against labor conditions

‘detrimental to the maintenance of the minimum standard of living necessary for health,

efficiency, and general well-being of workers.’” Id. (quoting 29 U.S.C. § 202).

           The provisions of the FLSA are mandatory and, except in two narrow circumstances, are

generally not subject to bargaining, waiver, or modification by contract or settlement. Brooklyn

Sav. Bank v. O’Neil, 324 U.S. 697, 706, 65 S. Ct. 895, 89 L. Ed. 1296 (1945); Lynn’s Food

Stores, Inc. v. United States, 679 F.2d 1350, 1353-53 (11th Cir. 1982). The first exception

involves FLSA claims that are supervised by the Secretary of Labor pursuant to 29 U.S.C. §

216(c). Lynn’s Foods, Inc., 679 F.2d at 1533. The second exception, applicable here,

encompasses instances in which federal district courts approve settlement of suits brought in

federal district court pursuant to § 16(b) of the FLSA. Id.




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    Mr. Boyd’s bankruptcy trustee, Toby Rosen, was substituted for Mr. Boyd as a Representative Plaintiff.
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       In reviewing the settlement of a federal plaintiff’s FLSA claims, the district court must

“‘ensure that the parties are not, via settlement of [the] claims, negotiating around the clear

FLSA requirements of compensation for all hours worked, minimum wages, maximum hours,

and overtime.’” Rotuna v. W. Customer Mgmt. Group LLC, No. 4:09CV1608, 2010 WL

2490989, at *5 (N.D. Ohio June 15, 2010) (quoting Collins v. Sanderson Farms, Inc., 568 F.

Supp. 2d 714, 719 (E.D. La. 2000) (further citation omitted)). The existence of a bona fide

dispute serves as a guarantee that the parties have not manipulated the settlement process to

permit the employer to avoid its obligations under the FLSA. Id. (citing Crawford, 2008 WL

4724499, at *3). The Court should also consider the following factors: the risk of fraud or

collusion, the complexity, expense, and likely duration of the litigation, the amount of discovery

completed, the likelihood of success on the merits, and the public interest in settlement.

Crawford, 2008 WL 4724499, at *3 (citing Int’l Union, United Auto., Aerospace, and Agr.

Workers of Am. v. Gen. Motors Corp., 497 F.3d 615, 631 (6th Cir. 2007)). In addition, where the

settlement agreement proposes an award of attorney’s fees, such fees must be reasonable. See

generally Reed v. Rhodes, 179 F.3d 453, 471 (6th Cir. 1999) (citing Blum v. Stenson, 465 U.S.

886, 893, 104 S. Ct. 1541, 79 L. Ed. 2d 891 (1984)).

   III. ANALYSIS

       The Court finds that the instant action presented bona fide disputes. Plaintiffs, Route

Sales delivery drivers, assert that they were often required to work in excess of 40 hours a week

but were not properly compensated for their time. (Compl. ¶¶ 15-18.) Defendants insist that

plaintiffs were paid in compliance with FLSA regulations, and further claim that plaintiffs were

not entitled to overtime compensation. The divergent views of the facts and the law present bona

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fide disputes that, had the parties not reached settlement, would have necessitated resolution by

the Court and/or a jury.

       Having reviewed the terms of the settlement, the Court finds that the settlement

represents a fair and reasonable resolution to bona fide dispute. Further, the Court notes that the

settlement was the result of arms-length negotiations between parties that were represented by

able counsel. As such, the Court finds no risk of fraud or collusion. Moreover, plaintiffs’ counsel

has informed the Court that they believe that the settlement is fair, reasonable, and adequate and

in the best interests of the plaintiffs. Additionally, the Court finds that the award of attorney’s

fees to plaintiff’s counsel and the services awards to the named plaintiffs are reasonable, taking

into consideration the complexity of the case and the fact that a settlement was reached early in

the litigation. While the Court is not in a position to assess the likelihood of success on the

merits, as the case was still in the early stages when settlement was reached, the Court finds that

the other relevant factors weigh in favor of approving the settlement.

   IV. CONCLUSION

       For all of the foregoing reasons, the Court approves the settlement as fair and reasonable

and as having satisfied the standard for approval under the FLSA, 29 U.S.C. § 216(b), and orders

that the settlement be implemented according to the terms and conditions of the settlement

agreement and as directed herein.

       The Court approves the method of calculation and proposed distribution of the individual

payments. The parties have submitted with the settlement one exhibit that provides the names of

the plaintiffs and the amounts of the individual payments. The court approves the amounts and



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orders that such payments be distributed in the manner, and subject to the terms and conditions,

set forth in the settlement agreement.

       Having approved the service payments to the representative plaintiffs, the Court orders

that such payments be distributed in the manner, and subject to the terms and conditions, set

forth in the settlement agreement.

       Having approved the payment of attorneys’ fees and expense reimbursements to

plaintiffs’ counsel, the Court orders that such payments be distributed in the manner, and subject

to the terms and conditions, set forth in the settlement agreement.

       The Court dismisses the claim of the plaintiffs with prejudice, and enters final judgment

dismissing it from the action. The Court finds no just reason for delay and directs the Clerk of

Court to enter this final order and judgment immediately.

       The Court retains jurisdiction over the action to enforce the terms of the settlement,

including addition of plaintiffs and the distribution process.

       IT IS SO ORDERED.



Dated: October 20, 2017
                                                HONORABLE SARA LIOI
                                                UNITED STATES DISTRICT JUDGE




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